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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:04CR262
                              )
          v.                  )
                              )
BRANDY K. BRENTON,            )               MEMORANDUM AND ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s amended

60(b) motion (Filing No. 156).       This motion supersedes

defendant’s original Rule 60 motion to set aside this Court’s

judgment of February 5, 2008 (Filing No. 153), pursuant to Rule

60, and accordingly that motion will be denied as moot.

            The underlying issue before the Court is whether or not

defendant’s motion pursuant to 28 U.S.C. § 2255 (Filing No. 140)

should be deemed timely filed.       The time for filing such motion

expired on October 2, 2007, one year after the date that the

Supreme Court of the United States entered an order denying

defendant’s petition for writ of certiorari.

            The record appears to support the finding that on

September 26, 2007, a Thomas Mitchell, acting under power of

attorney for the defendant, submitted to the Court for filing her

§ 2255 motion, at which time he also presented a copy of the

power of attorney executed by Ms. Brenton.            The § 2255 motion was

unsigned.   This was noted and the documents were delivered to
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Judge Smith Camp who, on October 3, 2007, entered an order

directing the clerk to return the documents to the defendant/

petitioner.

           On October 19, 2007, the § 2255 motion was refiled,

date stamped, and it reflected it had been signed “Brandy K.

Brenton by Thomas P. Mitchell (power of attorney).”              Judge Smith

Camp in part rejected the § 2255 motion as untimely filed because

there had been no showing that the petitioner was not competent

or able to sign the documents herself.          The Court records reflect

there were documents (Filing Nos. 145, 146 and 147) filed on

December 21, 2007, that were signed personally by petitioner on

September 20, 2007.     In addition, she personally signed the

original Rule 60 motion (Filing No. 154) and the amended motion

(Filing No. 156).

           However, there is attached to her original motion filed

pursuant to Rule 60 (Filing No. 154) as Exhibit “B” a copy of the

power of attorney which was originally executed on July 27, 2006.

Inasmuch as petitioner attempted to have her § 2255 motion filed

on September 26, 2007, and the deficiency in this motion was

subsequently cured by the filing on October 19, 2007 (Filing No.

140), the Court concludes that the motion has been timely filed.

Fed.R.Civ.P. 11(a).     De Aza-Paez v. United States, 343 F.3d 552

(1st Cir. 2003); United States ex rel Guirsch v. Battaglia, 2007

WL 4557819 (N.D.Ill.)     In this respect, the Court has been


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advised by the office of the clerk of this court that on

September 26, 2007, a § 2255 motion was date stamped by that

office.

            However, the Court notes that the petitioner has failed

to serve copy of the motion and supporting brief on the office of

the United States Attorney as required by the Rules of this

Court.    Accordingly,

            IT IS ORDERED:

            1) On or before August 11, 2008, defendant shall serve

a copy of her motion and brief on the office of the United States

Attorney for the District of Nebraska.

            2) The United States Attorney shall have until

September 22, 2008, to respond to said motion.

            DATED this 21st day of July, 2008.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court




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